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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                        Case No. 11-20129-42
              Plaintiff,
                                                        Judge Robert H. Cleland
 v.

 DONNA COOK



            Defendant .
 ___________________________________/

                ORDER SETTING SENTENCING AND DEADLINE DATES
                    AND IMPOSING OTHER RESPONSIBILITIES

       The Defendant having been convicted and referred to the Probation Department for

 the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

 1)    Sentence will be imposed on MAY 26, 2015 at 2:00 PM. If a custodial sentence is

       imposed, the defendant must be prepared to submit to custody on the day of

       sentencing.

 2)    On or before APRIL 14, 2015, the PSR must be submitted to counsel by the

       Probation Officer for review and possible objections.

 3)    On or before APRIL 21, 2015, any PSR objection must be stated to the Probation

       Officer (but cannot be filed on the docket). In stating an objection, counsel must use

       a format substantially similar to the attached Addendum. A purported PSR

       objection originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be

       rejected by the Probation Officer and returned to the party who provided it.

 4)    On or before MAY 5, 2015, the proposed final form of the PSR must be delivered to

       the court by the Probation Department.
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 5)    Not later than MAY 12, 2015, any request by either party for a departure or variance

       from the Guidelines range must be presented in the form of a motion with a

       supporting brief.

 6)    Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

       motion for departure or variance motion must be filed.

 7)    A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

       sentencing.

 8)    Counsel must provide a copy of any motion, opposition to a motion, and

       memorandum to the Probation Officer.

 9)    Allocution at sentencing will ordinarily not exceed ten minutes for Defendant’s

       counsel, ten minutes for Defendant and ten minutes for government counsel.


                                  s/Robert H. Cleland
                                  Robert H. Cleland
                                  United States District Judge

 Dated: December 29, 2014

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on December 29, 2014, by electronic and/or ordinary mail.

                                  s/Lisa Wagner
                                  Case Manager




       1
        A sentencing memorandum is often superfluous in light of a motion for variance,
 and more important in the absence of such a motion. Memoranda are ordinarily
 reviewed by the court in the few days leading to sentencing. Do not use a sentencing
 memorandum as a substitute for a motion for a USSG departure or 18 USC
 §3553(a)(2) variance in sentence.
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                                     SAMPLE
                           PRESENTENCE REPORT ADDENDUM

 Defendant’s name:                                   Page #:
 Docket #:                                           Paragraph #:
 Date:                                               Line(s) #:
 Objection #:

 Section I: Defendant’s/Government’s objection:




 _____________________________                        _________________________________
 Attorney’s signature                                 I affirm the truth of every factual statement above.
                                                      Defendant’s signature

 Section II: Probation officer’s comments:




                                     Instructions for counsel
                 (Do not replicate instructions on the Addendum to be submitted)

 1)    Provide all objections directly to the Probation Officer, and do not file them on the docket.

 2)    Any objection or claim that a guideline or application note has been incorrectly applied or
       omitted must be accompanied by a clear explanation. Saying only that “the defendant
       disputes” a fact without providing an alternate explanation or reference to specific evidence
       is generally unavailing.

 3)    Do not use the Addendum format or the formal “objection” process to merely
       •      point out a minor factual error, i.e., those that have no effect on guideline
              calculations nor forms the basis for a departure. Such claims may be presented to
              the Probation Officer by letter or memorandum.
       •      argue a mechanical result or an alternate guideline calculation that depends on the
              resolution of a challenged factual item.
       •      react to required PSR comments such as factors for possible departure. Such
              matters may be presented to the court in the form of a sentencing memorandum.

 4)    When a party has presented a material objection that has not been accepted by the
       Probation Officer and remains for resolution by the court, any opposition must expressed in
       writing whether or not the court specifically orders a response. Always provide a copy to the
       Probation Officer. Responses should correspond to the numbering of the objection(s) and
       clearly explain the party’s position in reaction to the objection.
